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        EXHIBIT
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From: Apple
Date: 8/13/20, 2:22 PM


Hello Epic Games team,

We have determined that your app is in violation of the App Store Review Guidelines
detailed below.

For these reasons, your app has been removed from the App Store until we receive an
update that is compliant with the App Store Review Guidelines. Customers who have
previously downloaded this app will continue to have access to it on their devices and
will have access to any available in-app purchase products.

Specifically, we found your app is in violation of the following:


Guideline 3.1.1 - Business - Payments - In-App Purchase
Your app unlocks or enables additional functionality with mechanisms other than the
App Store, which is not appropriate for the App Store.

Specifically, we found that users are able to purchase digital goods with external
purchase mechanisms in your app with the “Epic direct payment" feature.

See the attached screenshots for details.

Next Steps

To resolve this issue, please remove the “Epic direct payment" feature from your app.


Guideline 2.3.1 - Performance

We discovered that your app contains hidden features. Attempting to hide features,
functionality or content in your app is considered egregious behavior and can lead to
removal from the Apple Developer Program.

Specifically, we found that your app includes an “Epic direct payment” feature, which
provides access to external payment mechanisms and enables the purchase of content,
services, or functionality by means other than the in-app purchase API.
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Next Steps

- Review the Performance section of the App Store Review Guidelines.
- Ensure your app, as well as any third-party code and SDKs implemented in your app,
are compliant with all sections of the App Store Review Guidelines and the Terms &
Conditions of the Apple Developer Program.
- Revise or remove the hidden features from your app. Once your app is fully compliant,
resubmit your app for review.


Guideline 2.5.2 - Performance - Software Requirements

During review, your app downloaded, installed, or executed code which introduced
changes to features and functionality in your app, which is not permitted on the App
Store.

Specifically, your app enabled the “Epic direct payment” feature.

Next Steps

- Review the Software Requirements section of the App Store Review Guidelines.
- Ensure your app is compliant with all sections of the App Store Review Guidelines and
the Terms & Conditions of the Apple Developer Program.
- Once your app is fully compliant, resubmit your app for review.


Guideline 2.3.12 - Performance - Accurate Metadata

We noticed you have included nondescript, temporary, or incomplete information in
your app’s "What’s New" text.

Specifically, the last six “What’s New” text submissions are identical and do not
describe new features and product changes present in your app.

Aside from simple bug fixes, security updates, and performance improvements, apps
must clearly describe new features and product changes in their "What’s New" text.

Next Steps

To resolve this issue, please revise your app’s "What’s New" text to include clear
descriptions of any significant changes, including new features or product changes.
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Using a generic statement such as, “We're always improving our app to bring you the
best experience” is not an appropriate use of your app's “What's New” text. Instead, you
should highlight what has changed within your app, such as new features or significant
changes. If your update simply addresses bug fixes, security updates, or performance
updates, stating so generically in your app's “What's New” text is sufficient. For
example, “Bug fixes and performance improvements.”

In order to return your app to the App Store, you will need to submit an updated version
for review which addresses all these issues.

Submitting apps designed to mislead or harm customers or evade the review process
may result in the termination of your Apple Developer Program account. Review the
Terms & Conditions of the Apple Developer Program to learn more about our policies
regarding termination.
If you have any questions about this information, please reply to this message to let us
know.

Best regards,

App Store Review
